Case 2:05-cr-20120-.]DB Document31 Filed 05/27/05 PagelofS Page|D 2

  

IN THE UNITED sTATEs DISTRICT cOURT FH»ED 1 03
FOR THE wEsTERN DISTRICT 01=' TENNESSEE -
wEsTERN DivIsIoN "5 Hl."~f 2 9§=‘; 'g: §§

 

 

U'NI'I`ED S'I`ATES OF AMERICA
Plaintiff,

Criminal No. _Q__?: ZO/z'q¢il

§£A»\J Lee_

(60-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSEN'I` ORDER ON CRIMINAL CASE CONTIN'UANCE
AND EXCLUSION OF TIIVIE

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the June
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, duly 22, 2005, with trial to take place on
the August, 2005, rotation calendar with the time excluded under
the Speedy Trial Act through August 12, 2005. Agreed in open

court at report date this 27th day of May, 2005.

  

Thls document entered on the docket sheet in cmp anc
wlth Rule 55 andlor 32(1)) FHCrP on

Case 2:05-cr-20120-.]DB Document 31 Filed 05/27/05 Page 2 of 3 Page|D 23

50 oRDERED this 27ch day of May, 2005.

9 m O.Qll

JO PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

 

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Assistant United zfates Attorney

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Counsel for Defendant(s)

 
 

UNITED sTATE onlle COURT - WESRNTE D's'TRCT oFTENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:05-CR-20120 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

Jacob E. Erwin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

Memphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

